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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re                                                      Chapter 11

WOODBRIDGE GROUP OF                                        Case No. 17-12560 (JKS)
COMPANIES, LLC, et al.,1
                                                           (Jointly Administered)
                                Remaining Debtors.
                                                                           4881
                                                           Ref. Docket No. _____

          ORDER EXTENDING THE DURATION OF THE LIQUIDATION TRUST

         Upon consideration of the motion (the “Motion”)2 of the Liquidation Trust for the entry of

an order extending the duration of the Liquidation Trust through and including March 31, 2026

and all pleadings related thereto; and due and proper notice of the Motion having been given; and

it appearing that no other or further notice of the Motion is required; and it appearing that the Court

has jurisdiction to consider the Motion in accordance with 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012 and Section 5.4.16 of the Plan; and it appearing that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding

and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this Court

may enter a final order consistent with Article III of the United States Constitution; and this Court

having found and determined that the relief requested in the Motion is in the best interest of the

Debtors, their estates, their creditors, and all parties in interest, and is necessary for the Liquidation

Trust to facilitate or complete the recovery on, and liquidation of, the Liquidation Trust Assets;

and after due deliberation and good and sufficient cause appearing therefor,



1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
  follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
  (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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         IT IS HEREBY ORDERED THAT:

                   1.           The Motion is GRANTED as set forth herein.

                   2.           The outside termination date of the Liquidation Trust is extended from

February 15, 2024 through and including March 31, 2026 (the “Extended Termination Date”).

                   3.           This Order shall be without prejudice to the rights of the Liquidation Trust

to seek further extensions of the Extended Termination Date.

                   4.           This Court shall retain jurisdiction and power to hear and determine all

matters arising from or related to the implementation of this Order.




                                                                    J. KATE STICKLES
        Dated: December 20th, 2023
                                                                    UNITED STATES BANKRUPTCY JUDGE
        Wilmington, Delaware



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